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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE



Rick Savage individually and on          )
behalf of Two Brothers, LLC d/b/a        )
Sunday River Brewing Company,            )
                                         )
Mike Mercer, of Cumberland               )
County, State of Maine,                  )
                                         )
James Fahey, of Cumberland               )
County, State of Maine,                  )
                                         )
Lindsey Crosby, of Cumberland            )
County, State of Maine,                  )
                                         )    CIVIL ACTION NO. 1:20-cv-00165
Individually and on Behalf of All        )
Other Identified Class Members,          )
                                         )
                            Plaintiffs   )
v.                                       )
                                         )
Janet T. Mills, Governor                 )
State of Maine                           )
                                         )
                            Defendant    )

                       MOTION TO AMEND COMPLAINT

       NOW COME the Plaintiﬀs, Rick Savage individually and on behalf of Two

Brothers, LLC d/b/a Sunday River Brewing Company, Mike Mercer, James Fahey, and

Lindsey Crosby (collectively, “the Named Plaintiffs”), by and through their counsel,

and hereby move this Honorable Court pursuant to Fed. R. Civ. P. 15(a)(2) for leave to

file a Second Amended Complaint. In support of this motion, the Named Plaintiffs

state as follows;
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      1.       Counsel for the Named Plaintiffs have been fielding and receiving phone

calls from an overwhelming amount of potential class members and impacted

individuals.


      2.       The Named Plaintiffs wish to amend its complaint to narrow the proposed

class to identified individuals and businesses who have been impacted by the

Governor’s Executive Orders.


      3.       The Named Plaintiffs further request leave to Amend to add an additional

count relating to notice and comment rulemaking.


      4.       The undersigned contacted Counsel for the Defendant on May 26, 2020,

who indicated he had no objection to this Motion.


      WHEREFORE, in accordance with judicial economy and to help focus and

streamline the issues going forward, the Named Plaintiffs respectfully request this

Honorable Court grant leave to file a Second Amended Complaint.




DATED: May 28, 2020                            /s/Stephen C. Smith
                                               Stephen C. Smith, Esq. Bar No. 8720
                                               John E. Baldacci, Jr., Esq., Bar No. 5773
                                               Attorney for Plaintiffs
                                               LIPMAN & KATZ
                                               PO Box 1051
                                               Augusta, ME 04332-1051
                                               207-622-3711
                                               ssmith@lipmankatz.com
                                               jbaldacci@lipmankatz.com
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                            CERTIFICATE OF SERVICE

      I, Stephen C. Smith, hereby certify that the foregoing Motion to Amend Complaint

and Second Amended Complaint has been electronically sent to the following on this 28th

day of May, 2020.

      Christopher C. Taub, Esquire
      Christopher.C.Taub@maine.gov



DATED: May 28, 2020                           /s/Stephen C. Smith
                                              Stephen C. Smith Bar No. 8720
                                              Attorney for Defendant
                                              LIPMAN & KATZ
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                           UNITED STATES DISTRICT COURT
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Individually and on Behalf of All        )
Other Identified Class Members,          )
                                         )
                            Plaintiffs   )
v.                                       )
                                         )
Janet T. Mills, Governor                 )
State of Maine                           )
                                         )
                            Defendant    )

                ORDER ON MOTION TO AMEND COMPLAINT

      Upon Plaintiffs’ Motion to Amend Complaint and in accordance with judicial

economy and to help focus and streamline the issues going forward, the same is hereby

GRANTED.



DATED:
                                             Judge
